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              EXHIBIT 4
     (GEICO Policy No. GXU 30267)
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                                   GOVERNMENT EMPLOYEES INSURANCE COMPANY


                                              EXCESS UMBRELL& LIABILITY POIJCY
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                                          New Yo~k, N~York 10036



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                                            ENDORSEMENT



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                               NEW ’YORK b"TATE AMENDATORY ENDORSEMEI~I"

                              (EXCESS UMBRELL~ OR EXCESS L~ABILITY P~LICY]




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           GEICO.

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                GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                   HOME OFFICE ¯ WASHINGTON, D.C. 20076


                                   EXCESS UMBRELLA LIABILITY POLICY




                                           INSURING AGREEMENTS




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